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                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


COMMONWEALTH OF PENNSYLVANIA and
STATE OF NEW JERSEY,

                              Plaintiffs,

                      v.                                    No. 2:17-cv-04540-WB

DONALD J. TRUMP, in his official capacity as
President of the United States; ALEX M. AZAR II, in
his official capacity as Secretary of Health and Human
Services; UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES; STEVEN T.
MNUCHIN, in his official capacity as Secretary of the
Treasury; UNITED STATES DEPARTMENT OF THE
TREASURY; RENE ALEXANDER ACOSTA, in his
official capacity as Secretary of Labor; UNITED
STATES DEPARTMENT OF LABOR; and UNITED
STATES OF AMERICA.

                              Defendants.


                   PLAINTIFFS’ OPPOSITION TO MOTION TO STAY

       Plaintiffs the Commonwealth of Pennsylvania and the State of New Jersey respectfully

submit this opposition to Defendants’ motion to stay proceedings in this matter (ECF No. 143).

For the reasons set forth below, the motion to stay should be denied.

                                        BACKGROUND

       The amended complaint in this matter was filed on December 14, 2018, and Plaintiffs

moved for a preliminary injunction based on the allegations in the amended complaint three days

later (ECF Nos. 89 & 90). On December 26, 2018, Defendants moved for a stay of the case or, in

the alternative, for an extension of the answer deadline (ECF No. 96). On December 27, 2018,

this Court denied the stay request but granted the request for an extension, giving Defendants
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until February 28, 2019, to answer the complaint (ECF No. 103). On February 28, 2019, the

Court further extended this deadline to March 29, 2019 (ECF No. 151).

                                           DISCUSSION

       There is no basis for staying this case. As the Plaintiff States explained at the injunction

hearing held on January 10, 2019, they are prepared to move toward a final resolution of this

action. See Hearing Tr. at 107:7-16; 119:9-11 (Jan. 10, 2019) (relevant excerpts attached). While

the Court’s order granting the Plaintiff States’ motion for a preliminary injunction addressed the

merits of two of the claims in the amended complaint, that complaint asserts three other claims

that raise significant additional issues. A stay would simply frustrate development of the issues

relating to these additional claims, likely delaying a final resolution of this case.1 Furthermore, as

previously discussed, the federal defendants produced the administrative record in this matter

just days before the injunction hearing. See Hearing Tr. at 105-07. The Plaintiff States are

continuing to review the administrative record, and they expect to rely on additional material

from the record during subsequent proceedings on the two counts already addressed by the

Court. As a result, a stay of this matter would frustrate the ultimate resolution of all counts in the

amended complaint.

       Defendants will not be prejudiced if this case moves forward. In fact, defendants agreed

that parallel litigation in the Northern District of California should proceed notwithstanding the

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          Defendants claim that waiting for the Third Circuit to rule on the pending appeal of the
preliminary injunction entered by the Court would help resolve these additional claims, arguing
that “[i]f RFRA authorized or required Federal Defendants to promulgate the exemptions to the
mandate, as Federal Defendants contend, then Plaintiffs’ constitutional claims likely would fail.”
ECF 143-1 at 4. But even if the Third Circuit were to agree with Defendants’ view of RFRA, the
fact that an agency action is authorized by statute does not immunize it from constitutional
challenges, and Defendants offer no justification for the claim that any agency action that is
arguably authorized by RFRA is per se constitutional. Furthermore, Plaintiffs’ claims include
allegations that the rules violate the Equal Protection Clause and Title VII of the Civil Rights
Act, and it is difficult to see why a decision on RFRA would have any bearing on those claims.


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issuance of a preliminary injunction in that case. See Joint Statement, ECF No. 273, California v.

Azar, No. 17-cv-5783 (N.D. Cal. Feb. 1, 2019). So even if Defendants’ motion is granted and

this case is stayed, they will nonetheless be forced to litigate many of the same issues in

California while this case is on hold – and then, presumably, will litigate those issues again in

this case once the stay is lifted. Such a scenario makes no sense, and Defendants offer no

explanation for why they agreed that the California case should move forward while arguing that

allowing this case to proceed would lead to a “needless expenditure of resources.” See ECF 143-

1 at 1.

          In fact, the argument against a stay is stronger here than in the parallel California

litigation. The district court in that case, like this Court, previously entered a nationwide

injunction blocking enforcement of the prior Interim Final Rules. On appeal, the Ninth Circuit

affirmed the district court’s decision to grant the injunction but found that the issuance of an

injunction extending beyond the parties was an abuse of discretion. California v. Azar, 911 F.3d

558, 583-85 (9th Cir. 2018). In reaching this conclusion, the Ninth Circuit relied in part on the

fact that the case had been stayed following the issuance of the injunction. Id. at 583. If the Third

Circuit were to adopt the Ninth Circuit’s logic, a stay of this case could potentially prejudice the

States in the current appeal of the preliminary injunction. By contrast, the district court hearing

the California suit did not enter a nationwide injunction against the final rules, thus lessening the

need to move quickly toward a final resolution in that case.

          Because Defendants seek a stay, they “bear[] the burden of establishing its need.”

Clinton v. Jones, 520 U.S. 681, 708 (1997) (citing Landis v. N. Am. Co., 299 U.S. 248, 255

(1936)). To carry this burden, they “must make out a clear case of hardship or inequity in being

required to go forward, if there is even a fair possibility that the stay … will work damage to




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some one else.” Landis v. N. Am. Co., 299 U.S. 248, 255 (1936). Here, a stay would delay a final

resolution of this case and potentially harm the Plaintiff States, while allowing the case to

proceed would not prejudice Defendants in any meaningful way. For these reasons, Defendants’

motion should be denied.

                                         CONCLUSION
       For the reasons set forth above, the Plaintiff States respectfully request that the motion to

stay be denied.

February 28, 2019                                 Respectfully submitted,

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